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                        UNITED STATES DISTRICT COURT FOR THE
                                                                                  AUG -62010
                                DISTRICT OF MARYLAND
                                                                                ~~~       OF~
    SALL YE M. PURYEAR                       *                             BY
                                                                                      ~         DIPUW
    1129 Horne Avenue                        *
    Portsmouth, Virginia 23701               *
                                             *
           Plaintiff,           *

    v.
                                *
                                * Civil Case No.:
                                                                           AWlOCV2162
                                *
    MICHAEL W. HAGER            *
    UNITED STATES OFFICE OF     *
        PERSONNEL MANAGEMENT    *
    Office of the Director      *
    1900 "E" Street, N.W., 5A09 *
    Washington, D.C. 20415      *
                                *
           Defendant.           *
    ************************************************
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                                       COMPLAINT
                           Writ of Mandamus,     Plqs Reimbursement

    JURISDICTION

          1. The Court has jurisdiction over this action pursuant to 28 U.S.C. 1346 and 28

    U.S.C. 1651.

    PARTIES

          2. Plaintiff, Ms. SaBye Puryear, is a United States citizen who was employed as a

    GS-185-12 Social Worker (retroactively promoted to a GS-185-13 pursuant to an Equal

    Employment Opportunity Commission Decision) with the National Naval Medical Center

    in Bethesda, Maryland. She retired on March 29, 2002.

          3. Defendant, Michael W. Hager, is the Director ofthe United States Office of
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Personnel Management ("OPM"), a federal agency. It handles personnel matters

regarding all retirees.

PROCEDURE

       4. On July 25, 2006, this court granted the United States Navy summary judgment

against Plaintiff in her "Writ of Mandamus & Attorney's Fee Reimbursement" action

which sought to obtain court enforcement of the agency's non-compliance with certain

aspects of an EEOC decision in her favor.

       5. The summary judgment decision in favor of the Navy rested on the Equal

Employment Opportunity Commission's ("EEOC") Office of Federal Operations'

("OFO") conclusion that the agency had in fact complied with the EEOC's decision.

Hence, action by this court was improper since a finding of noncompliance by OFO was a

condition precedent to court enforcement. See. Decision, Puryear v. Winter, Secretary of

the Navy, Civil Action No. AW-05-2993.

FACTS IN SUPPORT OF PRESENT MANDAMUS

       6. Since that decision, circumstances have arisen requiring this court to act.

Namely, on May 22,2007, the Social Security Administration ("SSA") ruled that

Plaintiff s increased salary due to her retroactive promotion (granted by EEOC) does

allow the reallocation of her earnings in calculating her proper social security benefits.

       7. Since receiving the letter from SSA in May 2007, repeated communication (both

verbal and written) with OPM by the Plaintiff and her attorney has not produced the



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earnings information sought by SSA to make the proper adjustments.

       8. The officials contacted since 2007 have been [i] Denise Noblit, United States

Office of Personnel Management, Retirement Operations Center (Boyars, Pennsylvania),

[ii] Rosa McCrea, Customer Service Specialist, United States Office of Personnel

Management (Washington, D.C.), [iii] Mike Flagg, Special Inquires Branch, United

States Office of Personnel Management (Washington, D.C.), and [iv) Linda Bainter,

Department of Defense, Defense Finance & Accounting Service (Charleston, South

Carolina).

       9. Each time, Plaintiff has been referred elsewhere, given wrong information, or

ignored.

       10. Officials of Defendant have provided records, printouts, and letters which have

failed to satisfY SSA despite clear directions about what is needed.

       11. Because SSA refused to accept the calculations from Plaintiff, it contacted

OPM directly for the infonnation, to no avail.

       12. A simple request of how much more income Plaintiff earned from 1999 to

2002 because of the retroactive promotion (i.e., four figures) has not been provided.

       13. Defendant has provided printouts of Plaintiffs salary history, figures showing

Plaintiffs yearly salary from 1999 to 2002, figures showing Plaintiffs monthly salary,

BUT has not provided the increase in her salary due to the retroactive promotion for the

years 1999,2000,2001,    and 2002.



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       14. After Plaintiffs attorney failed on several occasions to get responsive

documents from aPM and SSA did not get its telephone calls returned, SSA ceased its

efforts and left Plaintiff with insufficient social security benefits.

       15. aPM ceased all further efforts to assist in the Fall of2009.

       WHEREFORE, Plaintiff respectfully requests that

[A]    the Defendant be made to provide Plaintiff and SSA with the figures/amounts SSA

       seeks in order to reallocate Plaintiff s social security benefits,

[B]    the Defendant be ordered to immediately cooperate fully with any other requests of

       SSA in order to properly calculate Plaintiff s social security benefits,

[C]    the Defendant be ordered to provide Plaintiff s counsel with all of its

       communications with SSA in response to this mandamus,

[D]    the Defendant be ordered to pay all lost interest on the underpaid amounts of

       Plaintiff s social security benefits,

[E]    the Defendant be made to reimburse Plaintiff for her costs and attorney's fees for

       this needless litigation due to the Agency's non-cooperation, attorney's fees

       continue to rise from the present $1,635.00 (13.5 hours at $120.00 per hour), and

[F]    such other and further relief as the court deems proper.

       1 solemnly affirm under the penalty of perjury that the contents of the foregoing




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                                Respectfully submitted,


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                                            es of Reverend Rickey Nelson
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                                Attorney for Plaintiff




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